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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Criminal Case No. 19-cr-00098-CMA-1

   UNITED STATES OF AMERICA,

           Plaintiff,

   v.

   LEONARD LUTON,

           Defendant.


                 UNOPPOSED DEFENDANT’S MOTION FOR LEAVE
           TO FILE CHARACTER LETTERS AND ACCOMPLISHMENTS OF
        DEFENDANT WHILE INCARCERATED AND TO FILE SAID DOCUMENTS
                        UNDER LEVEL 2 RESTRICTION


           Defendant Leonard Luton (“Defendant”), by Counsel, Mark Edward

   Scabavea of SCABAVEA & ASSOCAIATES, LLC, respectfully requests this

   Honorable Court for leave to file two character letters and his accomplishments

   which he was incarcerated in FDC Englewood.

                                    I. CONFERRAL

           Counsel for Defendant conferred with Counsel for the government via email

   on August 3, 2021. This motion is unopposed.

                                        II. LAW

           D.C.COLO.LCrR 32.1 (e) states regarding Sentencing Related Documents:

   “Unless otherwise ordered correspondence or other documents related to

   sentencing, including letters, reports, certificates, awards, photographs, or other

   documents pertaining to the defendant, shall be provided to the probation office no



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   later than 10 days before sentencing and shall be filed no later than seven days

   before sentencing by a probation officer and are entitled to Level 2 restriction under

   D.C.COLO.LCrR 47.1(f)(1)(A).” D.C.COLO.LCrR 32.1 (e).

                                     III. ARGUMENT

          Undersigned counsel was not aware of nor received the attached

   documents which are two character letters and certificates of accomplishments of

   Defendant while he was incarcerated in FDC Englewood until August 2, 2021.

                                   IV. CONCLUSION

          WHEREFORE, Defendant Leonard Luton requests this Honorable Court to

   ACCEPT filing of the two character letters and certificates of accomplishments of

   Defendant attached to this motion and to file said documents under Level 2

   Restriction.

          Dated this 3rd day of August, 2021.

                                             Respectfully Submitted,


                                             SCABAVEA & ASSOCIATES, LLC


                                             s/ Mark E. Scabavea
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                        CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on August 3, 2021, I electronically filed the foregoing
   with the Clerk of the Court using the CM/ECF system and/or electronic mail, which
   will send electronic notification to all the parties.

   Martha Ann Paluch
   martha.paluch@usdoj.com

                                            s/ Mark E. Scabavea
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